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       UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

AUSTIN BROWN,

            Plaintiff,

v.                                   Case No. 1:17cv305-MW/GRJ

LAWN ENFORCEMENT AGENCY,
INC. and MICHAEL TROIANO,

           Defendants.
__________________________/

            FINAL ORDER ON FEES AND COSTS

      This Court held that Plaintiff is entitled to attorney’s fees

and costs. ECF No. 47. This Court then ordered the parties to brief

the issue of the amount of fees and costs that should be awarded.

Id. The parties have since filed their briefs. ECF No. 48; ECF No.

51. Accordingly, this Court now determines how much fees and

costs to award Plaintiff.

                         I. Attorney’s Fees

      “The starting point for determining the amount of a

‘reasonable fee is the number of hours reasonably expended on the

litigation multiplied by a reasonable hourly rate.’” Bivins v. Wrap

It Up, Inc., 548 F.3d 1348, 1350 (11th Cir. 2008) (quoting Hensley


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v. Eckerhart, 461 U.S. 424, 433 (1983)). “The product of these two

figures is the lodestar and there is a ‘strong presumption’ that the

lodestar is the reasonable sum the attorneys deserve.” Id.

                     A. Reasonable Hourly Rate

      “A reasonable hourly rate is the prevailing market rate in

the relevant legal community for similar services by lawyers of

reasonably comparable skills, experience, and reputation.”

Norman v. Hous. Auth., 836 F.2d 1292, 1299 (11th Cir. 1988). A

court “is itself an expert on the question and may consider its own

knowledge and experience concerning reasonable and proper fees

and may form an independent judgment either with or without the

aid of witnesses as to value.” Loranger v. Stierheim, 10 F.3d 776,

781 (11th Cir. 1994) (quoting Norman, 836 F.2d at 1303). “In

determining what is a ‘reasonable’ hourly rate . . ., the court is to

consider the 12 factors enumerated in Johnson v. Georgia Highway

Express, Inc., 488 F.2d 714 (5th Cir. 1974).” Bivins, 548 F.3d at

1350. Those factors are:

      (1) the time and labor required; (2) the novelty and
      difficulty of the questions; (3) the skill requisite to
      perform the legal service properly; (4) the preclusion
      of employment by the attorney due to acceptance of the
      case; (5) the customary fee; (6) whether the fee is fixed
      or contingent; (7) time limitations imposed by the
      client or the circumstances; (8) the amount involved

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       and the results obtained; (9) the experience,
       reputation, and ability of the attorneys; (10) the
       “undesirability” of the case; (11) the nature and length
       of the professional relationship with the client; and
       (12) awards in similar cases.

Id. at 1350 n.2.

       Here, Plaintiff claims that a reasonable hourly rate is $425

per hour. ECF No. 48, at 10–12. Defendants claim that a

reasonable hourly rate is $250 per hour. ECF No. 51, at 8. Based

on its own experience as an attorney and a judge (state and

federal), as well as a consideration of the Johnson factors, 1 this

Court concludes that a reasonable hourly rate for Plaintiff’s

counsel in this case is $375 per hour. 2



       1 (1) This case was not particularly time-consuming or laborious. (2) The
questions were not particularly novel or difficult. (3) This case did not require
exceptional skill. (4) Plaintiff’s counsel was understandably precluded from
other employment, but his timesheet reflects that he had plenty of time to work
on other matters, see ECF No. 48-1; (5) the customary fee is within the range
of $375 per hour; (6) the fee was contingent; (7) there were no extenuating time
limitations; (8) the amount involved and the results obtained were relatively
low; (9) Plaintiff’s counsel has been a member of the Florida Bar since late
1998; (10) this case was relatively undesirable; (11) Plaintiff’s counsel has
failed to adduce facts as to the nature and length of his professional
relationship with Plaintiff; and (12) awards in similar cases have been within
the range of $375 per hour.

       2  In reaching that conclusion, this Court also gives credence to the
findings of Gary D. Wilson, who—without compensation—prepared a
declaration on behalf of Defendants. See ECF No. 51-1. Given his rate of “$375
with nearly 29 years’ experience,” Mr. Wilson concluded “that a rate of $350 to
$375 would be an appropriate maximum for this type of matter.” Id. at 8.
Although this Court disagrees that $375 would be a “maximum” (this Court
finds it is closer to the midrange given the circumstances), $375 is still within
the range offered by Defendant’s expert.
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                   B. Reasonable Number of Hours

      Plaintiff claims a total of 180.4 hours. ECF No. 48, at 5.

“‘[E]xcessive, redundant or otherwise unnecessary’ hours should

be excluded from the amount claimed.” Norman, 836 F.2d at 1301

(quoting Hensley, 461 U.S. at 434).

      First, Defendants request a reduction of 40.6 hours for time

Plaintiff’s counsel “spent doing basic FLSA research, some of

which is also redundant.” ECF No. 51, at 9. After reviewing the

timesheet, this Court disagrees that this time should be reduced.

      Second, Defendants request a reduction of 2.5 hours for time

Plaintiff’s counsel “spent correcting his own mistakes.” ECF No.

51, at 10. Specifically, Defendants claim that Plaintiff’s counsel

should not be permitted to bill for the time he spent preparing an

amended complaint and amended initial disclosures after his

initial filings contained incorrect damage conclusions. See id. This

Court agrees. Accordingly, this Court finds that a reduction of 2.5

hours for unnecessary correction work is appropriate. Cf., e.g.,

Mobley v. Apfel, 104 F. Supp. 2d 1357, 1360 (M.D. Fla. 2000)

(“[T]ime devoted to correcting one’s own errors should not be

reimbursable.”).



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       Third, Defendants request a reduction of 1.2 hours for time

Plaintiff’s counsel spend doing “clerical work.” ECF No. 51, at 10.

Specifically, they argue that Plaintiff’s counsel should not recover

for time spent preparing a summons, preparing a civil cover sheet,

calendaring dates, and exchanging emails with defense counsel’s

assistant. Id. This Court agrees. Those hours were unnecessarily

billed as attorney’s fees and could have been completed by a non-

attorney. Accordingly, this Court finds that a reduction of 1.2

hours for unnecessary clerical work is appropriate. Mobley, 104 F.

Supp. 2d at 1360 (“[T]asks of a clerical nature are not compensable

as attorney’s fees.”).

       Finally, Defendants argue that “[t]he hours [Plaintiff’s

counsel] is claiming after the Court found entitlement to fees is not

time he can be compensated for.” Id. Defendants are wrong. 3 “Like

other courts, [the Eleventh Circuit] [has] allowed parties to recover

the cost of establishing their right to, and the amount of attorney’s




       3  Perhaps Defendants are relying on Florida law. See, e.g., State Farm
Fire & Cas. Co. v. Palma, 629 So. 2d 830, 833 (Fla. 1993) (holding that for
purposes of section 627.428, Florida Statutes, “statutory fees may be awarded
for litigating the issue of entitlement to attorney’s fees but not the amount of
attorney’s fees”). That law is inapplicable here. See, e.g., Shaw v. Citimortgage.
Inc., No. 3:13-cv-0445-LRH-VPC, 2016 WL 6562035, at *1 (D. Nev. Nov. 3,
2016) (noting that federal law applies to a request for attorney’s fees relating
to and arising from a federal claim).
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fees—the right to fees-on-fees.” Norelus v. Denny’s, Inc., 628 F.3d

1270, 1301 (11th Cir. 2010) (emphasis added).

      In sum, this Court finds it appropriate to reduce the claimed

180.4 hours by 2.5 and 1.2 hours. Thus, the reasonable number of

hours expended is 176.7 hours.

                     C. Reduction of the Lodestar

      The lodestar in this case is 176.7 hours x $375 per hour. In

other words, the lodestar is $66,262.50.

      “[I]f the plaintiff obtained only ‘partial or limited success,’

the court may reduce the lodestar amount if it believes that

amount is excessive in relation to the plaintiff’s relief.” Popham v.

City of Kennesaw, 820 F.2d 1570, 1578–79 (11th Cir. 1987). “[A]

court can reduce attorney’s fees from the lodestar amount even

though the unsuccessful and the successful claims are related if

the plaintiff obtained only limited success.” Id. at 1579–80. “That

decision rests in the discretion of the district court.” Id. at 1579.

      Plaintiff’s initial complaint raised three claims: (1) a FLSA

claim for $184.14, (2) a FMWA claim for $195.21, and (3) a claim

under the Florida Constitution for $195.21. See ECF No. 1. On

summary judgment, this Court held that Plaintiff failed to state a

claim under the FMWA and Florida Constitution. ECF No. 35, at

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14–21. Moreover, although this Court granted judgment in

Plaintiff’s favor on the FLSA claim, Plaintiff did not end up

recovering as much as he originally asked for. Indeed, Plaintiff

ultimately agreed that he was only entitled to $84.14 in damages.

ECF No. 37, at 4.

      Given Plaintiff’s limited and partial success, this Court finds

that a reduction of the lodestar is appropriate. In making that

reduction, this Court is mindful of the comments made by one of

its colleagues in a sister district:

      [I]n light of the gross disparity between what plaintiff
      claimed and what her attorneys now seek for obtaining
      the recovery, there is significant potential for the fee
      award to become a windfall for plaintiff’s counsel.
      FLSA suits are not meant to become a cottage industry
      divorced from the benefits they provide, and the fees
      should not shade over from fair play into a punitive
      measure against defendants who challenge a
      plaintiff’s overtime claim in good faith. The court
      considers these factors in determining the reduction to
      be applied to the fees requested in this action.

Wolff v. Royal Am. Mgmt., Inc., No. CV-11-351-N, 2012 WL

5303665, at *5 (S.D. Ala. Oct. 25, 2012), aff’d, 545 F. App’x 791

(11th Cir. 2013) (unpublished).

      To be clear, this Court is not blinded by the fact that the

amount at issue in this case was relatively small. This Court

understands that “[w]hether the plaintiff’s relief is significant

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depends upon ‘the scope of the litigation as a whole.’” Popham, 820

F.2d at 1581 (quoting Hensley, 461 U.S. at 440). Nevertheless, this

Court also recognizes that “the relief a plaintiff requested is indeed

relevant to determining the extent of that plaintiff’s success.” Id.;

see also id. (“[I]n determining a plaintiff’s degree of success, courts

have compared the relief requested against the relief ultimately

obtained.”).

      Having said that, this Court also finds it appropriate to

consider how this case was litigated. A defendant “cannot litigate

tenaciously and then be heard to complain about the time

necessarily spent by the plaintiff in response.” Copeland v.

Marshall, 641 F.2d 880, 904 (D.C. Cir. 1980) (en banc). “Those who

elect a militant defense in the face of a statute allowing attorney’s

fees if they are defeated must take into account the time and effort

they exact from their opponents.” Perkins v. New Orleans Athletic

Club, 429 F. Supp. 661, 667 (E.D. La. 1976). Although Defendants

claim they presented several settlement opportunities, those

opportunities failed to include reasonable amounts for attorney’s

fees. See ECF No. 44. Rather than offer a reasonable settlement

and attempt to mitigate attorney’s fees, Defendants opted to put

forth a militant defense. See id.; see also ECF No. 48.

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       Defendants believe that “at least a seventy-five (75) percent

reduction in the fees requested is appropriate.” ECF No. 51, at 11.

That request is severely undermined by the fact that Defendants’

own expert proposes a 54% reduction. See ECF No. 51-1, at 8.

Moreover, this Court finds that even the expert’s proposal is too

high because he failed to take into account the militant defense

Defendants undertook. Considering all of the above, this Court

finds that the lodestar amount should be reduced by 25%.

Accordingly, Plaintiff is entitled to $66,262.50 – 25% = $49,696.88

in fees.

                                  II. Costs

       Plaintiff requests a total of $815 in costs. ECF No. 48, at 18–

19. Specifically, Plaintiff requests $400 for a filing fee, $40 for a

service fee for serving the initial process, and $375 for a mediation

fee. Id. at 19. Defendants do not object to these costs. 4 Although

the filing and service fees are properly taxable, see 28 U.S.C.

§ 1920, the mediation fee is not, see, e.g., Hargo v. Waters, No. 8:04-




       4 Defendants only “request that the Court find that the Plaintiff’s expert
fees are not recoverable.” ECF No. 51, at 20. No such fees have been requested.
See ECF No. 48, at 18–19; see also ECF No. 48-4.
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 cv-2256-T-26MSS, 2006 WL 5042033, at *3 (M.D. Fla. May 25,

 2006). As such, Plaintiff is only entitled to $440 in costs.

       Accordingly,

       IT IS ORDERED:

       1. Plaintiff’s motion for fees and costs, ECF No. 48, is

          GRANTED in part and DENIED in part.

       2. The Clerk is directed to enter judgment stating:

          “Plaintiff, Austin Brown, shall recover from Defendants,

          Lawn Enforcement Agency, Inc. and Michael Troiano,

          $84.14 in damages, $49,696.88 in attorney’s fees, and

          $440 in costs, for a total judgment amount of $50,221.02,

          for which sum let execution issue.”

       3. The Clerk is directed to close this case.

       SO ORDERED on April 3, 2019.

                          s/Mark E. Walker
                          Chief United States District Judge




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